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                        Exhibit B
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  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF NEW YORK
  -----------------------------------------------------------------X
   ROSENFIELD & COMPANY, PLLC,
                                                                        Case No.: 1:21-cv-3858 (VM) (KHP)
                                           Plaintiff,
                    -against-

   TRACHTENBERG, RODES & FRIEDBERG LLP,
   STAR AUTO SALES OF BAYSIDE, INC. (d/b/a STAR                         STAR DEFENDANTS’ ANSWER
   TOYOTA OF BAYSIDE), STAR AUTO SALES OF                               WITH COUNTERCLAIMS,
   QUEENS, LLC (d/b/a STAR SUBARU), STAR                                CROSS-CLAIMS, AND
   HYUNDAI LLC (d/b/a STAR HYUNDAI), STAR                               THIRD-PARTY COMPLAINT
   NISSAN, INC (d/b/a STAR NISSAN), METRO
   CHRYSLER PLYMOUTH INC. (d/b/a STAR
   CHRYSLER JEEP DODGE), STAR AUTO SALES OF
   QUEENS COUNTY LLC (d/b/a STAR FIAT), and
   STAR AUTO SALES OF QUEENS VILLAGE LLC
   (d/b/a STAR MITSUBISHI),

                                            Defendants.
   -----------------------------------------------------------------X
   STAR AUTO SALES OF BAYSIDE, INC. (d/b/a STAR
   TOYOTA OF BAYSIDE), STAR AUTO SALES OF
   QUEENS, LLC (d/b/a STAR SUBARU), STAR
   HYUNDAI LLC (d/b/a STAR HYUNDAI), STAR
   NISSAN, INC (d/b/a STAR NISSAN), METRO
   CHRYSLER PLYMOUTH INC. (d/b/a STAR
   CHRYSLER JEEP DODGE), STAR AUTO SALES OF
   QUEENS COUNTY LLC (d/b/a STAR FIAT), and
   STAR AUTO SALES OF QUEENS VILLAGE LLC
   (d/b/a STAR MITSUBISHI),

                                Defendants-Counterclaimants,

                    -against-

   ROSENFIELD & COMPANY, PLLC,

                           Plaintiff-Counterclaim-Defendant.
   -----------------------------------------------------------------X
   STAR AUTO SALES OF BAYSIDE, INC. (d/b/a STAR
   TOYOTA OF BAYSIDE), STAR AUTO SALES OF
   QUEENS, LLC (d/b/a STAR SUBARU), STAR
   HYUNDAI LLC (d/b/a STAR HYUNDAI), STAR
   NISSAN, INC (d/b/a STAR NISSAN), METRO

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   CHRYSLER PLYMOUTH INC. (d/b/a STAR
   CHRYSLER JEEP DODGE), STAR AUTO SALES OF
   QUEENS COUNTY LLC (d/b/a STAR FIAT), and
   STAR AUTO SALES OF QUEENS VILLAGE LLC
   (d/b/a STAR MITSUBISHI),

                          Defendants-Cross-claimants,

                    -against-

   TRACHTENBERG, RODES & FRIEDBERG LLP,

                    Defendant-Cross-claim-Defendants.
   -----------------------------------------------------------------X
   STAR AUTO SALES OF BAYSIDE, INC. (d/b/a STAR
   TOYOTA OF BAYSIDE), STAR AUTO SALES OF
   QUEENS, LLC (d/b/a STAR SUBARU), STAR
   HYUNDAI LLC (d/b/a STAR HYUNDAI), STAR
   NISSAN, INC (d/b/a STAR NISSAN), METRO
   CHRYSLER PLYMOUTH INC. (d/b/a STAR
   CHRYSLER JEEP DODGE), STAR AUTO SALES OF
   QUEENS COUNTY LLC (d/b/a STAR FIAT), and
   STAR AUTO SALES OF QUEENS VILLAGE LLC
   (d/b/a STAR MITSUBISHI),

                                Third-Party Plaintiffs,

                    -against-

   BARRY J. FRIEDBERG and LEONARD A. RODES,

                                Third-Party Defendants.
   -----------------------------------------------------------------X

           Star Defendants-Third-Party Plaintiffs, Star Auto Sales of Bayside, Inc. d/b/a Star Toyota

  of Bayside, Star Auto Sales of Queens, LLC d/b/a Star Subaru, Star Hyundai LLC d/b/a Star

  Hyundai, Star Nissan, Inc d/b/a Star Nissan, Metro Chrysler Plymouth Inc. d/b/a Star Chrysler

  Jeep Dodge, Star Auto Sales of Queens County LLC d/b/a Star Fiat, and Star Auto Sales of Queens

  Village LLC d/b/a Star Mitsubishi (collectively hereinafter the “Star Defendants” or “Star Auto

  Group”), by and through their attorneys, Milman Labuda Law Group PLLC, hereby submit this (i)



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  Answer to the Complaint of Rosenfield & Company, PLLC, (hereinafter “Rosenfield” or

  “Plaintiff”) with Counterclaims; (ii) Answer to the cross-claims of Defendant, Trachtenberg,

  Rodes & Friedberg LLP (hereinafter “TRF” or “Defendant TRF”) with cross-claims; and (iii)

  Third-Party Complaint against Third-Party Defendants, Barry J. Friedberg (“Friedberg) and

  Lenoard A. Rodes (“Rodes”) (collectively hereinafter the “TRF Partners” or “Third-Party

  Defendants”), as follows:

                               AS TO “NATURE OF THE ACTION”

         1.      Star Defendants admit that Rosenfield makes certain allegations contained in ¶ 1 of

  the Complaint concerning the basis of its claims, but Star Defendants deny any wrongdoing.

                              AS TO “JURISDICTION AND VENUE”

         2.      ¶ 2 of the Complaint purports to set forth legal conclusions to which no response is

  required. To the extent that ¶ 2 sets forth any allegations of fact to which a response is required,

  Star Defendants deny those allegations.

         3.      ¶ 3 of the Complaint purports to set forth legal conclusions to which no response is

  required. To the extent that ¶ 3 sets forth any allegations of fact to which a response is required,

  Star Defendants deny those allegations.

         4.      ¶ 4 of the Complaint purports to set forth legal conclusions to which no response is

  required. To the extent that ¶ 4 sets forth any allegations of fact to which a response is required,

  Star Defendants deny those allegations.

                                         AS TO “PARTIES”

         5.      Star Defendants deny knowledge or information sufficient to admit or deny the

  allegations set forth in ¶ 5 of the Complaint.




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         6.      Star Defendants deny knowledge or information sufficient to admit or deny the

  allegations set forth in ¶ 6 of the Complaint.

         7.      Star Defendants admit the truth of the allegations contained in ¶ 7 of the Complaint.

         8.      Star Defendants admit the truth of the allegations contained in ¶ 8 of the Complaint.

         9.      Star Defendants admit the truth of the allegations contained in ¶ 9 of the Complaint.

         10.     Star Defendants admit the truth of the allegations contained in ¶ 10 of the

  Complaint.

         11.     Star Defendants admit the truth of the allegations contained in ¶ 11 of the

  Complaint.

         12.     Star Defendants admit the truth of the allegations contained in ¶ 12 of the

  Complaint.

         13.     Star Defendants deny the truth of the allegations contained in ¶ 13 of the Complaint.

                              AS TO “GENERAL ALLEGATIONS”

         14.     Star Defendants deny knowledge or information sufficient to admit or deny the

  allegation set forth in ¶ 14 of the Complaint that Rosenfield engages in the business of performing

  tax accounting, auditing, and financial litigation support services and state that Rosenfield held

  itself out to Star Defendants as engaging in said business. Star Defendants admit the truth of the

  allegation set forth in ¶ 14 of the Complaint that, for years, Rosenfield provided tax and accounting

  services to Star Auto Group, its principals, and affiliated companies.

         15.     Star Defendants deny knowledge or information sufficient to admit or deny the

  allegations set forth in ¶ 15 of the Complaint.

         16.     Star Defendants deny the truth of the allegations contained in ¶ 16 of the Complaint.

         17.     Star Defendants deny the truth of the allegations contained in ¶ 17 of the Complaint.




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         18.     Star Defendants deny the truth of the allegations contained in ¶ 18 of the Complaint.

         19.     Star Defendants deny the truth of the allegations contained in ¶ 19 of the Complaint.

         20.     Star Defendants deny all allegations contained in ¶ 20 of the Complaint except

  admit that TRF electronically signed the Engagement Letter and Rosenfield is not in possession

  of a copy of the Engagement Letter executed by a representative of Star Defendants.

         21.     Star Defendants deny the truth of the allegations contained in ¶ 21 of the Complaint.

         22.     Star Defendants deny the truth of the allegations contained in ¶ 22 of the Complaint.

         23.     Star Defendants deny the truth of the allegations contained in ¶ 23 of the Complaint.

         24.     Star Defendants deny the truth of the allegations contained in ¶ 24 of the Complaint.

         25.     Star Defendants deny knowledge or information sufficient to admit or deny the

  allegations in ¶ 25 of the Complaint.

         26.     Star Defendants deny information or belief sufficient to admit or deny the

  allegations set forth in ¶ 26 of the Complaint.

         27.     Star Defendants deny the truth of the allegations contained in ¶ 27 of the Complaint.

         28.     Star Defendants deny the truth of the allegations contained in ¶ 28 of the Complaint.

         29.     Star Defendants deny the truth of the allegations contained in ¶ 29 of the Complaint.

         30.     Star Defendants admit that Rosenfield filed a civil action as alleged in ¶ 30 of the

  Complaint.

         31.     Star Defendants admit the truth of the allegations contained in ¶ 31 of the

  Complaint.

         32.     Star Defendants deny the truth of the allegations contained in ¶ 32 of the Complaint

  but state that Star Automotive Group, Inc. is not affiliated with Star Defendants.




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         33.     Star Defendants admit the truth of the allegations contained in ¶ 33 of the

  Complaint.

         34.     Star Defendants deny the truth of the allegations contained in ¶ 34 of the Complaint.

         35.     Star Defendants deny the truth of the allegations contained in ¶ 35 of the Complaint.

         36.     Star Defendants deny the truth of the allegations contained in ¶ 36 of the Complaint.

         37.     Star Defendants admit the truth of the allegations contained in ¶ 37 of the Complaint

  that Star Defendants have not paid for purported services rendered and deny information or belief

  sufficient to admit or deny that TRF has not paid the outstanding invoices.

         38.     Star Defendants deny the truth of the allegations contained in ¶ 38 of the Complaint.

         39.     Star Defendants deny information or belief sufficient to admit or deny the

  allegations set forth in ¶ 39 of the Complaint.

     AS TO “COUNT I – BREACH OF CONTRACT AGAINST STAR AUTO GROUP”

         40.     Star Defendants repeat and reallege each and every allegation contained in the

  preceding Paragraphs as if fully set forth herein.

         41.     Star Defendants admit that Rosenfield makes certain allegations contained in ¶ 41

  of the Complaint concerning the basis of its claims, but deny that Rosenfield is entitled to any

  relief and Star Defendants deny any liability.

         42.     Star Defendants deny the truth of the allegations contained in ¶ 42 of the Complaint.

         43.     Star Defendants deny the truth of the allegations contained in ¶ 43 of the Complaint.

         44.     Star Defendants deny the truth of the allegations contained in ¶ 44 of the Complaint.

         45.     Star Defendants deny the truth of the allegations contained in ¶ 45 of the Complaint.




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      AS TO “COUNT II – UNJUST ENRICHMENT AGAINST STAR AUTO GROUP”

         46.     Star Defendants repeat and reallege each and every allegation contained in the

  preceding Paragraphs as if fully set forth herein.

         47.     Star Defendants admit that Rosenfield makes certain allegations contained in ¶ 47

  of the Complaint concerning the basis of its claims, but deny that Rosenfield is entitled to any

  relief and Star Defendants deny any liability.

         48.     Star Defendants deny the truth of the allegations contained in ¶ 48 of the Complaint.

         49.     Star Defendants deny the truth of the allegations contained in ¶ 49 of the Complaint.

         50.     Star Defendants deny the truth of the allegations contained in ¶ 50 of the Complaint.

         51.     Star Defendants deny the truth of the allegations contained in ¶ 51 of the Complaint.

         52.     Star Defendants deny the truth of the allegations contained in ¶ 52 of the Complaint.

       AS TO “COUNT III – QUANTUM MERUIT AGAINST STAR AUTO GROUP”

         53.     Star Defendants repeat and reallege each and every allegation contained in the

  preceding Paragraphs as if fully set forth herein.

         54.     Star Defendants admit that Rosenfield makes certain allegations contained in ¶ 54

  of the Complaint concerning the basis of its claims, but deny that Rosenfield is entitled to any

  relief and Star Defendants deny any liability.

         55.     Star Defendants deny the truth of the allegations contained in ¶ 55 of the Complaint.

         56.     Star Defendants deny the truth of the allegations contained in ¶ 56 of the Complaint.

         57.     Star Defendants deny the truth of the allegations contained in ¶ 57 of the Complaint.

         58.     Star Defendants deny the truth of the allegations contained in ¶ 58 of the Complaint.

         59.     Star Defendants deny the truth of the allegations contained in ¶ 59 of the Complaint.




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      AS TO “COUNT IV – BREACH OF CONTRACT AGAINST TRACHTENBERG”

         60.     Star Defendants repeat and reallege each and every allegation contained in the

  preceding Paragraphs as if fully set forth herein.

         61.     Star Defendants admit that Rosenfield makes certain allegations contained in ¶ 61

  of the Complaint concerning the basis of its claims, but deny that Rosenfield is entitled to any

  relief and Star Defendants deny any liability.

         62.     Star Defendants deny the truth of the allegations contained in ¶ 62 of the Complaint.

         63.     Star Defendants deny the truth of the allegations contained in ¶ 63 of the Complaint.

         64.     Star Defendants deny the truth of the allegations contained in ¶ 64 of the Complaint.

         65.     Star Defendants deny the truth of the allegations contained in ¶ 65 of the Complaint.

       AS TO “COUNT V – UNJUST ENRICHMENT AGAINST TRACHTENBERG”

         66.     Star Defendants repeat and reallege each and every allegation contained in the

  preceding Paragraphs as if fully set forth herein.

         67.     With respect to claims against TRF, no answer is required by Star Defendants.

  Inasmuch as an Answer is required, Star Defendants deny the truth of the allegations contained in

  ¶ 67 of the Complaint.

         68.     With respect to claims against TRF, no answer is required by Star Defendants.

  Inasmuch as an Answer is required, Star Defendants deny the truth of the allegations contained in

  ¶ 68 of the Complaint.

         69.     With respect to claims against TRF, no answer is required by Star Defendants.

  Inasmuch as an Answer is required, Star Defendants deny the truth of the allegations contained in

  ¶ 69 of the Complaint.




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          70.     With respect to claims against TRF, no answer is required by Star Defendants.

   Inasmuch as an Answer is required, Star Defendants deny the truth of the allegations contained in

   ¶ 70 of the Complaint.

          71.     With respect to claims against TRF, no answer is required by Star Defendants.

   Inasmuch as an Answer is required, Star Defendants deny the truth of the allegations contained in

   ¶ 71 of the Complaint.

          72.     With respect to claims against TRF, no answer is required by Star Defendants.

   Inasmuch as an Answer is required, Star Defendants deny the truth of the allegations contained in

   ¶ 72 of the Complaint.

        AS TO “COUNT V – UNJUST ENRICHMENT AGAINST TRACHTENBERG”

          73.     Star Defendants repeat and reallege each and every allegation contained in the

   preceding Paragraphs as if fully set forth herein.

          74.     With respect to claims against TRF, no answer is required by Star Defendants.

   Inasmuch as an Answer is required, Star Defendants admit that Rosenfield makes certain

   allegations contained in ¶ 74 of the Complaint concerning the basis of its claims, but deny that

   Rosenfield is entitled to any relief and Star Defendants deny any liability.

          75.     With respect to claims against TRF, no answer is required by Star Defendants.

   Inasmuch as an Answer is required, Star Defendants deny the truth of the allegations contained in

   ¶ 75 of the Complaint.

          76.     With respect to claims against TRF, no answer is required by Star Defendants.

   Inasmuch as an Answer is required, Star Defendants deny the truth of the allegations contained in

   ¶ 76 of the Complaint.




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          77.     With respect to claims against TRF, no answer is required by Star Defendants.

   Inasmuch as an Answer is required, Star Defendants deny the truth of the allegations contained in

   ¶ 77 of the Complaint.

          78.     With respect to claims against TRF, no answer is required by Star Defendants.

   Inasmuch as an Answer is required, Star Defendants deny the truth of the allegations contained in

   ¶ 78 of the Complaint.

          79.     With respect to claims against TRF, no answer is required by Star Defendants.

   Inasmuch as an Answer is required, Star Defendants deny the truth of the allegations contained in

   ¶ 79 of the Complaint.

                       STAR DEFENDANTS’ AFFIRMATIVE DEFENSES

                                 FIRST AFFIRMATIVE DEFENSE

          80.     Rosenfield’s claims, in whole or in part, fail to state a claim upon which relief can

   be granted.

                               SECOND AFFIRMATIVE DEFENSE

          81.     Rosenfield’s claims are barred, in whole or in part, by the applicable statute of

   limitations.

                                 THIRD AFFIRMATIVE DEFENSE

          82.     Rosenfield has been paid all monies owed to it.

                               FOURTH AFFIRMATIVE DEFENSE

          83.     Rosenfield’s claims are barred, in whole or in part, by the doctrines of waiver,

   release, laches, estoppel, unclean hands, and equitable and/or judicial estoppel.




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                                    FIFTH AFFIRMATIVE DEFENSE

          84.     Star Defendants have met and satisfied any and all obligations to Rosenfield and,

   therefore, this action is barred, in whole or in part, by the doctrine of accord and satisfaction.

                                    SIXTH AFFIRMATIVE DEFENSE

          85.     Rosenfield’s claims for damages are barred, in whole or in part, by Rosenfield’s

   failure to mitigate damages.

                                SEVENTH AFFIRMATIVE DEFENSE

          86.     The causes of action herein have been waived and/or are barred by reason of

   Rosenfield’s failure to give proper and timely notice to the Star Defendants of their claims.

                                    EIGHTH AFFIRMATIVE DEFENSE

          87.     The claims in the Complaint are barred, in whole or in part, by res judicata and/or

   collateral estoppel.

                                    NINTH AFFIRMATIVE DEFENSE

          88.     The Complaint is barred, in whole or in part, by the doctrine of payment.

                                    TENTH AFFIRMATIVE DEFENSE

          89.     Rosenfield is not entitled to the payment of attorneys’ fees by Star Defendants.

                               ELEVENTH AFFIRMATIVE DEFENSE

          90.     To the extent Star Defendants are found liable, Star Defendants are entitled to a set-

   off.

                               TWELFTH AFFIRMATIVE DEFENSE

          91.     Any damages alleged in this action (if any are in fact sustained) were caused by the

   acts or omissions of others, including Rosenfield, for which Star Defendants have no legal

   responsibility or culpability.




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                             THIRTEENTH AFFIRMATIVE DEFENSE

          92.     This action is barred, in whole or in part, as a result of Rosenfield’s own wrongful

   and dilatory conduct and its own actions or inactions.

                             FOURTEENTH AFFIRMATIVE DEFENSE

          93.     Rosenfield is precluded from receiving any relief by virtue of its own fraudulent

   conduct.

                              FIFTEENTH AFFIRMATIVE DEFENSE

          94.     The Complaint fails to state a case of actual controversy between the parties.

                              SIXTEENTH AFFIRMATIVE DEFENSE

          95.     Rosenfield failed to establish the existence of a valid agreement with Star

   Defendants.

                             SEVENTEENTH AFFIRMATIVE DEFENSE

          96.     Rosenfield’s purported contract is unenforceable as a matter of law.

                             EIGHTEENTH AFFIRMATIVE DEFENSE

          97.     Rosenfield’s purported contract is unenforceable because it is missing material

   and/or essential terms.

                             NINETEENTH AFFIRMATIVE DEFENSE

          98.     There is no privity of contract between Rosenfield and Star Defendants.

                              TWENTIETH AFFIRMATIVE DEFENSE

          99.     There was no meeting of the minds as required for the formation of any contract.

                             TWENTY-FIRST AFFIRMATIVE DEFENSE

          100.    Rosenfield did not adequately perform under any alleged contract.




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                         TWENTY-SECOND AFFIRMATIVE DEFENSE

          101.    Rosenfield did not suffer damages.

                          TWENTY-THIRD AFFIRMATIVE DEFENSE

          102.    Rosenfield failed to set forth the particular terms of any alleged contract that were

   allegedly breached by Star Defendants.

                         TWENTY-FOURTH AFFIRMATIVE DEFENSE

          103.    The amount(s) demanded in the Complaint by Rosenfield does not reflect either the

   agreed upon price or the reasonable value of the services allegedly sold and delivered.

                              TWENTY-FIFTH AFFIRMATIVE DEFENSE

          104.    Even assuming arguendo that there is a valid contract between Rosenfield and Star

   Defendants (which there is not), Star Defendants dispute the amount(s) which Rosenfield claims

   is owed and submits that the amount(s) claimed cannot be proven as a sum certain.

                           TWENTY-SIXTH AFFIRMATIVE DEFENSE

          105.    Star Defendants did not breach the contract(s), agreement(s) or understanding(s), if

   any, allegedly entered into with Rosenfield.

                        TWENTY-SEVENTH AFFIRMATIVE DEFENSE

          106.    Star Defendants did not order the services for which recovery is sought.

                         TWENTY-EIGHTH AFFIRMATIVE DEFENSE

          107.    Any conditions precedent contained in the purported agreement(s), contract(s),

   instrument(s) or understanding(s) upon which Rosenfield’s claims are based have not been

   satisfied by Rosenfield.




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                           TWENTY-NINTH AFFIRMATIVE DEFENSE

          108.    If Rosenfield should prove the recoverable damages to any degree, Star Defendants

   are entitled to a off-set or reduction against any alleged damages.

                              THIRTIETH AFFIRMATIVE DEFENSE

          109.    If any statement of account of the alleged indebtedness was ever rendered to the

   Star Defendants, the Star Defendants timely and unequivocally disputed the said statement of

   account.

                            THIRTY-FIRST AFFIRMATIVE DEFENSE

          110.    Rosenfield's claims are barred by the doctrines of course of conduct, course of

   dealing, course of performance, and/or usage of trade.

                          THIRTY-SECOND AFFIRMATIVE DEFENSE

          111.    Rosenfield's claims are barred by the doctrines of substantial performance and

   material breach by Rosenfield.

                           THIRTY-THIRD AFFIRMATIVE DEFENSE

          112.    The Complaint is barred, in whole or in part, by a lack of causation.

                          THIRTY-FOURTH AFFIRMATIVE DEFENSE

          113.    Damages alleged in the Complaint are speculative in nature.

                            THIRTY-FIFTH AFFIRMATIVE DEFENSE

          114.    This action is barred, in whole or in part, as a result of Rosenfield’s own wrongful

   and dilatory conduct and its own actions or inactions, rendering the parties in pari delicto.

                           THIRTY-SIXTH AFFIRMATIVE DEFENSE

          115.    Star Defendants reserve the right to raise additional affirmative defenses and to

   supplement those asserted herein upon discovery of further information and investigation into




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   Rosenfield’s claims.    These additional defenses cannot be articulated at this time due to

   Rosenfield’s failure to properly describe its claims with sufficient particularity in the complaint.

          WHEREFORE, Star Auto Group demands judgment: (i) dismissing the Complaint in its

   entirety; (ii) awarding to Star Auto Group the costs and disbursements of this action; and (iii)

   granting such other relief as this Court deems just and proper.

                                         COUNTER-CLAIMS

          1.      Star Defendants-Third-Party Plaintiffs, Star Auto Sales of Bayside, Inc. d/b/a Star

   Toyota of Bayside, Star Auto Sales of Queens, LLC d/b/a Star Subaru, Star Hyundai LLC d/b/a

   Star Hyundai, Star Nissan, Inc d/b/a Star Nissan, Metro Chrysler Plymouth Inc. d/b/a Star Chrysler

   Jeep Dodge, Star Auto Sales of Queens County LLC d/b/a Star Fiat, and Star Auto Sales of Queens

   Village LLC d/b/a Star Mitsubishi (collectively hereinafter the “Star Defendants” or “Star Auto

   Group”), as and for their counterclaims for breach of contract (two (2) separate contracts) and

   fraudulent misrepresentation against Plaintiff, Rosenfield & Company, PLLC, (hereinafter

   “Rosenfield” or “Plaintiff”), allege as follows:

                                            JURISDICTION

          2.      Jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1367(a) in that the

   counterclaims are so related to Rosenfield’s claims so as to form the same case or controversy

   under Article III of the United States Constitution and Rule 13 of the Federal Rules of Civil

   Procedure.

          3.      This Court has supplemental jurisdiction over the Star Auto Group’s state law

   counterclaims pursuant to 28 U.S.C. § 1367 because the state law counterclaims arise out of the

   same case or controversy.




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                                               PARTIES

          4.      Rosenfield is a Florida limited liability company with its principal place of business

   in Orlando, Florida. In addition to its office located in Orlando, Florida, Rosenfield also has an

   office in New York, New York.

          5.      Star Auto Group repeats and realleges the allegation contained in ¶ 7 of the

   Complaint.

          6.      Star Auto Group repeats and realleges the allegation contained in ¶ 8 of the

   Complaint.

          7.      Star Auto Group repeats and realleges the allegation contained in ¶ 9 of the

   Complaint.

          8.      Star Auto Group repeats and realleges the allegation contained in ¶ 10 of the

   Complaint.

          9.      Star Auto Group repeats and realleges the allegation contained in ¶ 11 of the

   Complaint.

          10.     Star Auto Group repeats and realleges the allegation contained in ¶ 12 of the

   Complaint.

          11.     Star Auto Sales of Queens Village LLC is a New York limited liability company

   with its principal place of business in Queens Village, New York. Star Auto Sales of Queens

   Village LLC ceased operations in or around 2011.

                                    FACTUAL ALLEGATIONS

          12.     In 2016, Michael Koufakis (“Koufakis”), a principal of Star Auto Group,

   discovered that Vivian Karouzakis (“Karouzakis”), an office manager/controller of several of Star

   Auto Group’s dealerships, was embezzling money from Star Auto Group.




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             13.   On April 4, 2017, Karouzakis was arrested for embezzlement and related crimes

   discovered solely by Star Auto Group.

             14.   After Karouzakis was arrested, Star Auto Group uncovered another fraudulent

   scheme created by Karouzakis and informed the District Attorney’s office about same on April 7,

   2017.

             15.   On or around April 12, 2017, Star Auto Group uncovered additional thefts that were

   committed by Despina Theocharis (“Theocharis”), another office manager/controller of Star Auto

   Group, and at the suggestion of counsel, Star Auto Group decided to hire a forensic accountant to

   identify each scheme undertaken by Karouzakis and Theocharis to embezzle and uncover the

   extent of the embezzlement for each scheme in anticipation of litigation and to assist in the criminal

   prosecution against these former employees and any other perpetrators to these schemes.

             16.   A few days later, on or about April 18, 2017, Star Auto Group hired Rosenfield.

             17.   Star Auto Group retained Rosenfield based on Rosenfield’s statements that (1) they

   have over twenty (20) years of experience in the automotive industry and (2) Rosenfield’s

   managing partner, Ken Rosenfield, had a purported ownership interest and/or financial interest in

   an automotive dealership prior to creating Rosenfield & Company, PLLC.

             18.   Star Auto Group hereby incorporates all allegations asserted in their cross-claims

   against TRF and Third-Party Complaint against Friedberg and Rodes, infra, as if fully set forth

   herein.

   Breach Of Contract Dated April 20, 2017, Fraud By Rosenfield

             19.   Star Auto Group repeats and realleges each and every allegation contained in the

   preceding Paragraphs, as if fully set forth herein.




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          20.     In or around April 20, 2017, Star Auto Group entered into an agreement with

   Rosenfield under which Rosenfield agreed to provided forensic accounting services to Star Auto

   Group (“Rosenfield Engagement Letter”).

          21.     Rosenfield failed to perform forensic accounting services in accordance with the

   terms of the Rosenfield Engagement Letter and thereby breached the terms of the Rosenfield

   Engagement Letter.

          22.     On April 17, 2020, Star Auto Group terminated its contract with Rosenfield.

          23.     Notably, from in or around November 3, 2017 until in or around April 17, 2020,

   Rosenfield was Star Auto Group’s accountant performing tax, accounting services, and work

   related to New York State sales tax audits under a separate agreement. The instant lawsuit does

   not involve any of Rosenfield’s work regarding tax, accounting services, and work related to New

   York State sales tax audits.

          24.     The Rosenfield Engagement Letter provides that “[Star Auto Group] have

   requested [Rosenfield’s] professional forensic accounting services with respect to the employee

   theft that occurred at the Star Automotive Group dealerships. [Rosenfield] will prepare schedules

   […] to assist in determining the amount of theft loss. [Rosenfield] will also perform a test for

   accuracy of the balance sheet accounts and to conduct an internal control study of both the

   accounting and computer systems. […] [Rosenfield] shall undertake no work under this agreement

   unless specifically requested to do so by [Star Auto Group].”

          25.     Rosenfield breached this contract by, inter alia, (i) excessively and unreasonably

   billing Star Auto Group for its services; (ii) failing to perform the forensic accounting work it was

   obligated to perform under the Rosenfield Engagement Letter; and (iii) billing for work not

   requested by Star Auto Group.




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           26.   Despite paying Rosenfield approximately $500,000.00 for forensic accounting

   work, the work performed by Rosenfield was of such a poor quality that Star Auto Group cannot

   use or rely on any of Rosenfield’s work and caused Star Auto Group to retain other forensic

   accountants to perform the work that Rosenfield failed to perform, but for which Rosenfield was

   paid.

           27.   Specifically, Rosenfield breached its contract by:

                 a. Failing to “prepare schedules” as described in the Rosenfield Engagement
                    Letter;
                 b. Failing to perform any “tests for accuracy of the balance sheet accounts” as
                    described in the Rosenfield Engagement Letter;
                 c. Failing to “conduct an internal control study of both the accounting and
                    computer systems” as described in the Rosenfield Engagement Letter;
                 d. Failing to determine “the amount of theft” against by Star Auto Group’s
                    employee as described in the Rosenfield Engagement Letter;
                 e. Failing to uncover new schemes committed by Star Auto Group’s former
                    employees (which were later uncovered);
                 f. Failing to document and determine the extent of damages for schemes Star Auto
                    Group uncovered on their own about which Star Auto Group notified
                    Rosenfield;
                 g. Overbilling for a search for a contractor to help access the data on Star Auto
                    Group’s backup tapes – without any results;
                 h. Failing to produce a competent report or make conclusions;
                 i. Failing to have dealership management software from The Reynolds and
                    Reynolds Company installed on computers Rosenfield’s employees used
                    despite being “experts” in the automotive industry; and
                 j. Performing work not specifically requested to be done by Star Auto Group.

           28.   Whenever Rosenfield provided a report to Star Auto Group the reports contained

   numerous errors and issues. Rosenfield’s most recent report was provided to Star Auto Group on

   December 4, 2019 and contained numerous errors and issues such as:

                 a. Incorrectly stating that every intercompany check between Star Toyota and Star
                    Nissan was fraudulent despite Rosenfield’s knowledge that certain
                    intercompany checks were legitimate;
                 b. Incorrectly identifying fraudulent schemes;
                 c. Stating there was theft from Star Auto Group’s “factory incentive accounts” but
                    failing to discover either of the two (2) schemes actually committed by Star




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                      Auto Group’s former employee, Carmen Jones (“Jones”), out of this same
                      account, for which Star Auto Group sued Jones;
                 d.   Incorrectly stating that there were “several suspicious transactions that could
                      result in approximately $206,180.00 of fraudulent activity” related to employee
                      advances. Whereas the first report Rosenfield provided to Star Auto Group on
                      June 2, 2017 contains the same exact sentence, evidencing a copy-and-paste job
                      with poor attention to detail;
                 e.   Incorrectly stating that “there is no record of payment” by Star Auto Group’s
                      former employee, Theocharis, receiving an employee advance of $30,000.00,
                      despite Star Auto Group providing Rosenfield with a $25,000.00 check from
                      Theocharis to Star Auto Group, along with a corresponding journal entry;
                 f.   Incorrectly stating that Star Auto Group’s current employee, Jacqueline Cutillo,
                      obtained a vehicle through a general journal entry while not identifying other
                      former employees who did in fact have general journal entries corresponding to
                      their vehicle purchase–other than Jones which was originally brought to
                      Rosenfield’s attention by Star Auto Group;
                 g.   Failing to provide any additional detail in Rosenfield’s December 4, 2019 report
                      regarding “vehicle sales to employees with no documentation of cash receipts”
                      despite mentioning the same information in its June 2, 2017 report;
                 h.   Incorrectly stating that there are vendor numbers with more than one vendor
                      assigned but failing to specifically identify any vendors, including Nissan
                      Motors and Staples, both of which had two separate vendor numbers. (Star Auto
                      Group notified Rosenfield about embezzlement schemes engaged in by their
                      former employees that Star Auto Group uncovered involving these vendors but
                      Rosenfield still failed to include them in its December 4, 2019 report);
                 i.   Failing to include several embezzlement schemes in its December 4, 2019
                      report which Star Auto Group previously notified Rosenfield, including, but not
                      limited to, a Star Subaru embezzlement scheme involving warranty claims
                      replacing customer deposits. (This embezzlement scheme was originally
                      mentioned in a report by Rosenfield dated May 29, 2018, but was completely
                      omitted from Rosenfield’s December 4, 2019 report); and
                 j.   Identifying several embezzlement schemes that were not, in fact, embezzlement
                      schemes.

          29.    As another example of the poor quality of Rosenfield's work, on January 24, 2020,

   a private investigator retained by MLLG met with Ken Rosenfield at Rosenfield's office in

   Orlando, Florida. During this meeting Rosenfield provided specific details of Theocharis’

   improper conduct. On January 26, 2020, the private investigator sent a recap email to Rosenfield

   and Star Auto Group outlining what was discussed during the meeting on January 24, 2020. One

   specific issue included in the January 26, 2020 email was that Rosenfield stated that that from




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   approximately 2014 to 2017, cash was being stolen from Metro Chrysler Plymouth Inc. d/b/a Star

   Chrysler Jeep Dodge’s (“Star Chrysler”) bank deposits “every day and sometimes twice a day”

   Rosenfield had billed tens of thousands of dollars in an effort to support that this theft occurred

   and reconfirmed to the private investigator that this theft was occurring each day during this time

   period. Rosenfield claimed that its primary evidence that this scheme in fact occurred “every day

   and sometimes twice a day” over a period of years was its examination and analysis of the Star

   Chrysler’s “cash boards”. However, Rosenfield never bothered to examine the primary banking

   and dealership accounting files, specifically the “edit lists”. Had Rosenfield taken this basic step,

   Rosenfield would have seen the precise amount consisting of not only cash, but checks and credit

   cards, coming into Star Chrysler was in fact deposited every day in Star Chrysler’s bank account.

   When the private investigator presented details of Rosenfield’s allegations to Star Auto Group’s

   office manager, she was able to respond to the private investigator the next day with evidence

   completely debunking Rosenfield’s allegation.

          30.     The allegations contained in paragraphs 27, 28, and 29 supra are only a few of

   many examples showing how the Rosenfield Engagement Letter was breached by Rosenfield, and

   is by no means an exhaustive list of Rosenfield’s extensive failures to perform under the parties’

   purported agreement.

          31.     Many of Rosenfield’s invoices state that certain work was performed, but in a vast

   majority of cases there is no documentation to support that this work was actually done.

          32.     Star Auto Group relied on Rosenfield’s expertise as forensic accountants in the

   automotive industry and, in good faith, paid all invoices Rosenfield issued to Star Auto Group

   arising out of the Rosenfield Engagement Letter.




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          33.     Once Star Auto Group learned that the work performed by Rosenfield was so poor

   that Star Auto Group could not use or rely on any of this work, Star Auto Group retained and paid

   other forensic accountants to do work that Rosenfield failed to perform but for which it had already

   been paid to perform.

          34.     Star Auto Group relied on embezzlement schemes Rosenfield uncovered by

   including them in lawsuits Star Auto Group filed against their former accountant and former

   employees which Star Auto Group have now learned were not embezzlement schemes, including

   but not limited to, the schemes Rosenfield identified involving employees with multiple employee

   identification numbers and involving general journal entries for Star Chrysler.

          35.     Based on the above allegations, Rosenfield breached its agreement arising from the

   Rosenfield Engagement Letter and engaged in fraud for which Star Auto Group is entitled to

   damages for excessive monies paid to Rosenfield and all consequential damages incurred as a

   result of Rosenfield’s failure to perform under the contract and all available remedies at law.

   Breach Of Contract Dated March 8, 2019

          36.     Star Auto Group repeats and realleges each and every allegation contained in the

   preceding Paragraphs, as if fully set forth herein.

          37.     In or around March 8, 2019, Star Auto Group entered into another agreement with

   Rosenfield (“Litigation Support Engagement Letter”).

          38.     The Litigation Support Engagement Letter does not cover any work related to a

   legal proceeding Star Auto Group commenced against Voynow, Bayard, Whyte & Company LLP

   (“Voynow”) in the United States District Court Eastern District of New York (Case No.: 18-cv-

   5775) (“Voynow Litigation”) commencing on December 1, 2017.




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             39.   Pursuant to the Litigation Support Engagement Letter, when it was executed by the

   parties, Star Auto Group paid a $15,000.00 retainer deposit to Rosenfield.

             40.   Rosenfield never performed any work covered by the Litigation Support

   Engagement Letter.

             41.   Rosenfield improperly and unethically attempted to apply the $15,000.00 retainer

   deposit to invoices for work Rosenfield allegedly performed covered by other agreements between

   the parties. On November 18, 2019, Star Auto Group, through counsel, notified Rosenfield that

   this was improper.

             42.   On November 26, 2019, Rosenfield responded to the November 18, 2019 letter and

   agreed with Star Auto Group.

             43.   On April 17, 2020, Star Auto Group terminated the Litigation Support Engagement

   Letter.

             44.   Since Rosenfield failed to perform any work covered by the Litigation Support

   Engagement Letter, when the agreement was terminated on April 17, 2020, Rosenfield was

   obligated to return the $15,000.00 retainer deposit to Star Auto Group.

             45.   Star Auto Group has demanded that Rosenfield return the $15,000.00 unused

   retainer deposit, but Rosenfield has failed to return it.

             46.   Accordingly, Rosenfield breached its contract with Star Auto Group causing Star

   Auto Group damages of $15,000.00.

                        FIRST COUNTERCLAIM AGAINST ROSENFIELD
                             (Breach of Contract Dated April 20, 2017)

             47.   Star Auto Group repeats and realleges each and every allegation contained in the

   preceding Paragraphs, as if fully set forth herein.




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          48.     Rosenfield breached the April 20, 2017 contract with Star Auto Group by

   overbilling under the contract, failing to perform services under the contract, incorrectly

   identifying fraudulent schemes and billing for work not requested by Star Auto Group.

          49.     Star Auto Group was damaged by Rosenfield’s conduct.

                      SECOND COUNTERCLAIM AGAINST ROSENFIELD
                           (Breach of Contract Dated March 8, 2019)

          50.     Star Auto Group repeats and realleges each and every allegation contained in the

   preceding Paragraphs, as if fully set forth herein.

          51.     Rosenfield breached the March 8, 2019 contract with Star Auto Group by failing

   to return the $15,000.00 deposit.

          52.     Star Auto Group was damaged by Rosenfield’s conduct.

                       THIRD COUNTERCLAIM AGAINST ROSENFIELD
                               (Fraudulent Misrepresentation)

          53.     Star Auto Group repeats and realleges each and every allegation contained in the

   preceding Paragraphs, as if fully set forth herein.

          54.     As its accountant, Rosenfield owed a fiduciary duty to Star Auto Group.

          55.     Rosenfield made material misrepresentations of fact to Star Auto Group regarding

   its work and bills which were made intentionally in order to defraud or mislead Star Auto Group.

          56.     Star Auto Group reasonably relied on the misrepresentations and suffered damages

   as a result of its reliance on Rosenfield’s misrepresentations.

          57.     Star Auto Group was damaged by Rosenfield’s conduct.

                                    PRAYER FOR RELIEF

   WHEREFORE, Star Auto Group demands the following:




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      a. Judgment on all counterclaims against Rosenfield in an amount to be established at trial

          plus pre and post-judgment interest, costs, attorney’s fees, and punitive damages for Star

          Auto Group’s third counterclaim; and

      b. Together with such other and further relief as the Court deems just and proper.

                 STAR AUTO GROUP’S ANSWER TO TRF’S CROSS-CLAIMS

             AS TO “FIRST CROSS-CLAIM AGAINST THE STAR AUTO GROUP”

          1.      Star Defendants incorporate and reallege the foregoing answering allegations in

   connection with this First Cross-Claim.

          2.      Star Defendants admit the truth of the allegations contained in ¶ 2 of the Cross-

   Claims.

          3.      Star Defendants deny the truth of the allegations contained in ¶ 3 of the Cross-

   Claims.

          4.      Star Defendants deny the truth of the allegations contained in ¶ 4 of the Cross-

   Claims.

          5.      Star Defendants deny the truth of the allegations contained in ¶ 5 of the Cross-

   Claims.

          6.      Star Defendants admit the truth of the allegation contained in ¶ 6 of the Cross-

   Claims that TRF denies that Rosenfield is entitled to any recovery in this action against TRF or

   the Star Auto Group as alleged and admit the truth of the allegation contained in ¶ 6 of the Cross-

   Claims that Star Auto Group rightfully and properly refused to pay Rosenfield.

          7.      Star Defendants deny the truth of the allegations contained in ¶ 7 of the Cross-

   Claims.




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          8.      Star Defendants deny the truth of the allegations contained in ¶ 8 of the Cross-

   Claims.

          AS TO “SECOND CROSS-CLAIM AGAINST THE STAR AUTO GROUP”

          9.      Star Defendants incorporate and reallege the foregoing answering allegations in

   connection with this Second Cross-Claim. Star Defendants also repeat and reallege each and every

   allegation contained in the preceding Paragraphs as if fully set forth herein.

          10.     Star Defendants admit the truth of the allegations contained in ¶ 10 of the Cross-

   Claims.

          11.     Star Defendants admit the truth of the allegations contained in ¶ 11 of the Cross-

   Claims.

          12.     Star Defendants admit the truth of the allegations contained in ¶ 12 of the Cross-

   Claims.

          13.     Star Defendants deny the truth of the allegations contained in ¶ 13 of the Cross-

   Claims.

          14.     Star Defendants deny the truth of the allegations contained in ¶ 14 of the Cross-

   Claims.

          15.     Star Defendants deny the truth of the allegations contained in ¶ 15 of the Cross-

   Claims.

          16.     Star Defendants deny the truth of the allegations contained in ¶ 16 of the Cross-

   Claims.




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             AS TO “THIRD CROSS-CLAIM AGAINST THE STAR AUTO GROUP”

          17.     Star Defendants incorporate and reallege the foregoing answering allegations in

   connection with this Second Cross-Claim. Star Defendants also repeat and reallege each and every

   allegation contained in the preceding Paragraphs as if fully set forth herein.

          18.     Star Defendants deny the truth of the allegations contained in ¶ 18 of the Cross-

   Claims.

          19.     Star Defendants deny the truth of the allegations contained in ¶ 19 of the Cross-

   Claims.

          20.     Star Defendants deny the truth of the allegations contained in ¶ 20 of the Cross-

   Claims.

          STAR AUTO GROUP’S AFFIRMATIVE DEFENSES TO CROSS-CLAIMS

                                 FIRST AFFIRMATIVE DEFENSE

          21.     TRF’s cross-claims, in whole or in part, fail to state a claim upon which relief can

   be granted.

                                SECOND AFFIRMATIVE DEFENSE

          22.     TRF’s cross-claims are barred, in whole or in part, by the applicable statute of

   limitations.

                                 THIRD AFFIRMATIVE DEFENSE

          23.     TRF has been paid all monies owed to it.

                                FOURTH AFFIRMATIVE DEFENSE

          24.     TRF’s cross-claims are barred, in whole or in part, by the doctrines of waiver,

   release, laches, estoppel, unclean hands, and equitable and/or judicial estoppel.




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                                    FIFTH AFFIRMATIVE DEFENSE

          25.     Star Auto Group has met and satisfied any and all obligations to TRF and, therefore,

   these cross-claims are barred, in whole or in part, by the doctrine of accord and satisfaction.

                                    SIXTH AFFIRMATIVE DEFENSE

          26.     TRF’s cross-claims for damages are barred, in whole or in part, by TRF’s failure to

   mitigate damages.

                                SEVENTH AFFIRMATIVE DEFENSE

          27.     The cross-claims herein have been waived and/or are barred by reason of TRF’s

   failure to give proper and timely notice to the Star Auto Group of their cross-claims.

                                    EIGHTH AFFIRMATIVE DEFENSE

          28.     The cross-claims are barred, in whole or in part, by res judicata and/or collateral

   estoppel.

                                    NINTH AFFIRMATIVE DEFENSE

          29.     The cross-claims are barred, in whole or in part, by the doctrine of payment.

                                    TENTH AFFIRMATIVE DEFENSE

          30.     TRF is not entitled to the payment of attorneys’ fees by Star Auto Group.

                               ELEVENTH AFFIRMATIVE DEFENSE

          31.     To the extent Star Auto Group is found liable, Star Auto Group is entitled to a set-

   off.

                               TWELFTH AFFIRMATIVE DEFENSE

          32.     Any damages alleged in these cross-claims (if any are in fact sustained) were caused

   by the acts or omissions of others, including TRF, for which Star Auto Group has no legal

   responsibility or culpability.




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                            THIRTEENTH AFFIRMATIVE DEFENSE

          33.     These cross-claims are barred, in whole or in part, as a result of TRF’s own

   wrongful and dilatory conduct and its own actions or inactions.

                           FOURTEENTH AFFIRMATIVE DEFENSE

          34.     TRF is precluded from receiving any relief by virtue of its own fraudulent conduct.

                             FIFTEENTH AFFIRMATIVE DEFENSE

          35.     The cross-claims fail to state a case of actual controversy between the parties.

                             SIXTEENTH AFFIRMATIVE DEFENSE

          36.     TRF failed to establish the existence of a valid agreement with Star Auto Group.

                           SEVENTEENTH AFFIRMATIVE DEFENSE

          37.     TRF’s purported contract is unenforceable as a matter of law.

                            EIGHTEENTH AFFIRMATIVE DEFENSE

          38.     TRF’s purported contract is unenforceable because it is missing material and/or

   essential terms.

                            NINETEENTH AFFIRMATIVE DEFENSE

          39.     There is no privity of contract between TRF and Star Auto Group.

                            TWENTIETH AFFIRMATIVE DEFENSE

          40.     There was no meeting of the minds as required for the formation of any contract.

                          TWENTY-FIRST AFFIRMATIVE DEFENSE

          41.     TRF did not adequately perform under any alleged contract.

                         TWENTY-SECOND AFFIRMATIVE DEFENSE

          42.     TRF did not suffer damages.




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                          TWENTY-THIRD AFFIRMATIVE DEFENSE

          43.     TRF failed to set forth the particular terms of any alleged contract that were

   allegedly breached by Star Auto Group.

                         TWENTY-FOURTH AFFIRMATIVE DEFENSE

          44.     The amount(s) demanded in the cross-claims by TRF does not reflect either the

   agreed upon price or the reasonable value of the services allegedly sold and delivered.

                           TWENTY-FIFTH AFFIRMATIVE DEFENSE

          45.     Even assuming arguendo that there is a valid contract between TRF and Star Auto

   Group (which there is not), Star Auto Group disputes the amount(s) which TRF claims is owed

   and submits that the amount(s) claimed cannot be proven as a sum certain.

                           TWENTY-SIXTH AFFIRMATIVE DEFENSE

          46.     Star Auto Group did not breach the contract(s), agreement(s) or understanding(s),

   if any, allegedly entered into with TRF.



                        TWENTY-SEVENTH AFFIRMATIVE DEFENSE

          47.     Star Auto Group did not order the services for which recovery is sought.

                         TWENTY-EIGHTH AFFIRMATIVE DEFENSE

          48.     Any conditions precedent contained in the purported agreement(s), contract(s),

   instrument(s) or understanding(s) upon which TRF’s cross-claims are based have not been

   satisfied by TRF.

                          TWENTY-NINTH AFFIRMATIVE DEFENSE

          49.     If TRF should prove the recoverable damages to any degree, Star Auto Group is

   entitled to a off-set or reduction against any alleged damages.




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                              THIRTIETH AFFIRMATIVE DEFENSE

          50.     If any statement of account of the alleged indebtedness was ever rendered to Star

   Auto Group, Star Auto Group timely and unequivocally disputed the said statement of account.

                            THIRTY-FIRST AFFIRMATIVE DEFENSE

          51.     TRF's cross-claims are barred by the doctrines of course of conduct, course of

   dealing, course of performance, and/or usage of trade.

                          THIRTY-SECOND AFFIRMATIVE DEFENSE

          52.     TRF's cross-claims are barred by the doctrines of substantial performance and

   material breach by TRF.

                            THIRTY-THIRD AFFIRMATIVE DEFENSE

          53.     The cross-claims are barred, in whole or in part, by a lack of causation.

                          THIRTY-FOURTH AFFIRMATIVE DEFENSE

          54.     Damages alleged in the cross-claims are speculative in nature.



                            THIRTY-FIFTH AFFIRMATIVE DEFENSE

          55.     These cross-claims are barred, in whole or in part, as a result of TRF’s own

   wrongful and dilatory conduct and its own actions or inactions, rendering the parties in pari delicto.

                            THIRTY-SIXTH AFFIRMATIVE DEFENSE

          56.     Star Auto Group reserves the right to raise additional affirmative defenses and to

   supplement those asserted herein upon discovery of further information and investigation into

   TRF’s cross-claims. These additional defenses cannot be articulated at this time due to TRF’s

   failure to properly describe its cross-claims with sufficient particularity in the complaint.




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          WHEREFORE, Star Auto Group demands judgment: (i) dismissing TRF’s cross-claims

   in their entirety; (ii) awarding to Star Auto Group the costs and disbursements of this action; and

   (iii) granting such other relief as this Court deems just and proper.

     STAR AUTO GROUP’S CROSS-CLAIMS AGAINST TRACHTENBERG, RODES &
    FRIEDBERG LLP AND THIRD-PARTY CLAIMS AGAINST BARRY J. FRIEDBERG
                         AND LEONARD A. RODES

          1.      Star Defendants-Third-Party Plaintiffs, Star Auto Sales of Bayside, Inc. d/b/a Star

   Toyota of Bayside, Star Auto Sales of Queens, LLC d/b/a Star Subaru, Star Hyundai LLC d/b/a

   Star Hyundai, Star Nissan, Inc d/b/a Star Nissan, Metro Chrysler Plymouth Inc. d/b/a Star Chrysler

   Jeep Dodge, Star Auto Sales of Queens County LLC d/b/a Star Fiat, and Star Auto Sales of Queens

   Village LLC d/b/a Star Mitsubishi (collectively hereinafter the “Star Defendants”, “Third-Party

   Plaintiffs”, or “Star Auto Group”), by and through their attorneys, Milman Labuda Law Group

   PLLC (“MLLG”), hereby submit their (a) cross-claims against Defendant, Trachtenberg, Rodes &

   Friedberg LLP (hereinafter “ TRF” or “Defendant TRF”); and (b) third-party claims against Barry

   J. Friedberg (“Friedberg”) and Leonard A, Rodes (“Rodes”) (collectively hereinafter the “TRF

   Partners”), allege as follows:

          2.      Star Auto Group brings these cross-claims against TRF for (1) contribution and/or

   indemnification; (2) breach of contract concerning its retainer dated December 1, 2017 for (i)

   overbilling and (ii) violating the implied promise of due care for poor performance under the

   contract; and (3) fraudulent misrepresentation.

          3.      Star Auto Group brings this Third-Party Complaint against TRF Partners for (1)

   contribution and/or indemnification arising out of the allegations alleged in the Complaint; and (2)

   fraudulent misrepresentation. Additionally, Star Auto Group brings this Third-Party Complaint




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   against Friedberg for (3) breach of the contract dated December 1, 2017 for (i) overbilling and (ii)

   violating the implied promise of due care for poor performance under the contract.

          4.      Star Auto Group repeats and realleges each and every allegation contained in the

   preceding Paragraphs, as if fully set forth herein.

          5.      Star Auto Group, as and for their cross-claims against Defendant TRF and third-

   party claims against TRF Partners, allege as follows:

                                            JURISDICTION

          6.      With regard to the cross-claims, jurisdiction of this Court is invoked pursuant to 28

   U.S.C. § 1332 in that these are ancillary cross-clams under Rule 13(g) of the Federal Rules of Civil

   Procedure (“FRCP”) which arise out of the same transaction or occurrence that is the subject matter

   described in the Complaint, Star Auto Group’s counterclaims, and/or TRF’s cross-claims are so

   related so as to form the same case or controversy under Article III of the United States

   Constitution and Rule 13 of the Federal Rules of Civil Procedure.

          7.      With regard to the third-party claims, jurisdiction of this Court is invoked pursuant

   to 28 U.S.C. § 1332 in that these are ancillary third-party claims under Rule 14(a) of the FRCP

   which arise out of the same transaction or occurrence that is the subject matter described in the

   Complaint, Star Auto Group’s counterclaims, Star Auto Group’s cross-claims, and/or TRF’s cross-

   claims are so related so as to form the same case or controversy under Article III of the United

   States Constitution and Rule 14 of the Federal Rules of Civil Procedure.

          8.      This Court has supplemental jurisdiction over the Star Auto Group’s state law

   cross-claims and third-party claims pursuant to 28 U.S.C. § 1367 because the state law cross-

   claims and third-party claims arise out of the same case or controversy.




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                                             PARTIES

          9.     TRF is a New York limited liability partnership with its principal place of business

   located at 420 Lexington Avenue, Suite 2800, New York, New York. TRF also had an office

   located at 545 Fifth Avenue, Suite 640, New York, New York.

          10.    According to its website, as of June 30, 2021, TRF ceased providing legal services

   or otherwise conducting business.

          11.    As of July 30, 2021, TRF’s entity status is listed as “active” on the New York State

   Department of State, Division of Corporations’ website.

          12.    Friedberg resides in the State of New York.

          13.    Friedberg was a partner of TRF throughout TRF’s engagement with Star Auto

   Group until TRF ceased providing legal services.

          14.    Upon information and belief, Friedberg is still a partner of TRF.

          15.    Since in or around July 1, 2021, Friedberg is the principal of Friedberg PLLC.

          16.    Rodes resides in the State of New York.

          17.    Rodes was a partner of TRF throughout TRF’s engagement with Star Auto Group.

          18.    Upon information and belief, Rodes is still a partner of TRF.

          19.    Since in or around July 1, 2021, Rodes is the principal of The Rodes Firm PLLC.

          20.    Star Auto Group repeats and realleges the allegation contained in ¶ 7 of the

   Complaint.

          21.    Star Auto Group repeats and realleges the allegation contained in ¶ 8 of the

   Complaint.

          22.    Star Auto Group repeats and realleges the allegation contained in ¶ 9 of the

   Complaint.




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          23.    Star Auto Group repeats and realleges the allegation contained in ¶ 10 of the

   Complaint.

          24.    Star Auto Group repeats and realleges the allegation contained in ¶ 11 of the

   Complaint.

          25.    Star Auto Group repeats and realleges the allegation contained in ¶ 12 of the

   Complaint.

          26.    Star Auto Sales of Queens Village LLC is a New York limited liability company

   with its principal place of business in Queens Village, New York. Star Auto Sales of Queens

   Village LLC ceased operations in or around 2011.

                                   FACTUAL ALLEGATIONS

          27.    In or around December 1, 2017, Star Auto Group entered into an agreement with

   TRF, (hereinafter the “TRF Engagement Letter”).

          28.    The Agreement provides that TRF will represent Star Auto Group in a legal

   proceeding against Star Auto Group’s former accountants, Voynow, Bayard, Whyte & Company

   LLP (“Voynow”).

          29.    The TRF Engagement Letter provides, in relevant part, that TRF will not incur any

   material expense without Star Auto Group’s prior approval.

          30.    On October 24, 2019, without Star Auto Group’s prior approval, TRF and Friedberg

   emailed a draft engagement letter (“Engagement Letter”) to Rosenfield and Star Auto Group

   concerning Rosenfield potentially serving as a consulting expert in Star Auto Group’s legal

   proceeding against Voynow.

          31.    Later that day, on October 24, 2019, Ken Rosenfield responded via email that

   Rosenfield was “fine” with the terms of the Engagement Letter but stated “as with all litigation




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   support requirements of our insurance company, we will require a retainer that is applied to the

   final invoice. As Mike and his entities are a significant client to our firm, our retainer will be

   minimal at $5,000.”

             32.   Star Auto Group never agreed to the terms of the Engagement Letter, never signed

   the Engagement Letter, and never paid the $5,000.00 retainer required by Rosenfield to perform

   work under the Engagement Letter.

             33.   TRF and TRF Partners never received Star Auto Group’s prior approval required

   pursuant to the TRF Engagement Letter to retain Rosenfield.

             34.   TRF and TRF Partners never followed up to ask Star Auto Group if it agreed to the

   terms of the Engagement Letter.

             35.   Star Auto Group has consistently stated that it never agreed to the Engagement

   Letter.

             36.   Star Auto Group never told Rosenfield that it agreed to the terms of the Engagement

   Letter, paid the $5,000.00 retainer, or signed the Engagement Letter.

             37.   Star Auto Group never told TRF or TRF Partners that it agreed to the terms of the

   Engagement Letter, paid the $5,000.00 retainer, or signed the Engagement Letter.

             38.   TRF and/or TRF Partners never notified Rosenfield that Star Auto Group agreed to

   the terms of the Engagement Letter, paid the $5,000.00 retainer, or signed the Engagement Letter.

             39.   Rosenfield never notified TRF and/or TRF Partners that Star Auto Group agreed to

   the terms of the Engagement Letter, paid the $5,000.00 retainer, or signed the Engagement Letter.

             40.   Star Auto Group never acted in any manner that would indicate that it agreed to the

   Engagement Letter.




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             41.   Prior to TRF emailing the Engagement Letter on October 24, 2019, TRF knew that

   Star Auto Group was not satisfied and was frustrated with the services Rosenfield had provided to

   Star Auto Group.

             42.   Prior to TRF and Friedberg emailing the Engagement Letter on October 24, 2019,

   TRF and Friedberg knew that Star Auto Group was not satisfied and was frustrated with the

   services Rosenfield had provided to Star Auto Group. Indeed, on or about October 31, 2019, TRF

   and Friedberg were interviewing other accountants with Star Auto Group in an attempt to retain a

   new consulting expert to utilize in Star Auto Group’s legal action against Voynow.

             43.   TRF and TRF Partners should have, but failed to ask Rosenfield if Star Auto Group

   paid the $5,000 retainer.

             44.   TRF and TRF Partners should have, but failed to direct Rosenfield to not perform

   any work until Star Auto Group signed the Engagement Letter.

             45.   Rosenfield is not entitled to any recovery in this action against Star Auto Group for

   the disputed invoices.

   TRF Breaches The Contract Dated December 1, 2017

             46.   Pursuant to the TRF Engagement Letter, Star Auto Group entered into an

   Agreement with TRF to provide legal services to Star Auto Group in a legal proceeding against

   Voynow (“Voynow Litigation”) commencing on December 1, 2017.

             47.   Upon information and belief, TRF and Friedberg drafted the TRF Engagement

   Letter.

             48.   Friedberg signed the TRF Engagement Letter on behalf of TRF and issued all

   invoices pursuant to the TRF Engagement Letter to Star Auto Group.

             49.   On December 18, 2020, Star Auto Group terminated the services of TRF.




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          50.     TRF breached its contract with Star Auto Group dated December 1, 2017, by (i)

   overbilling and (ii) violating the implied promise of due care and poorly performing under the

   contract.

   Overbilling

          51.     To date, Star Auto Group has paid TRF approximately $339,179.00 in legal fees.

   Yet, very little progress was made by TRF in the Voynow Litigation and the amount billed is

   substantially more than the amount of actual work performed.

          52.     Moreover, the billing rates are incorrect.

          53.     Under the TRF Engagement Letter, Partners were billed at the rate of $550.00 per

   hour and associates will be billed at the rate of $250.00-$400.00 per hour.

          54.     Contrary to the terms of the TRF Engagement Letter, TRF’s associate, Stephen

   Arena (“Arena”), was incorrectly billing at a rate of $450.00 per hour.

          55.     Prior to filing the complaint in the Voynow Litigation on October 16, 2018, TRF

   exclusively worked on pre-complaint discovery with opposing counsel.

          56.     As of the date of filing, Arena’s LinkedIn page states he was an associate at TRF

   until TRF ceased providing legal services or otherwise conducting business. As of the date of

   filing, the website for the firm Arena currently works at, Trachtenberg & Arena, LLP, also states

   that Arena was an associate at TRF.

          57.     Friedberg had direct knowledge of the terms of the TRF Engagement Letter and

   reviewed each invoice TRF issued to Star Auto Group. However, Friedberg still failed to correct

   Arena’s hourly rate to abide by the terms of the TRF Engagement Letter.

          58.     Any work Arena performed under the TRF Engagement Letter was under the direct

   supervision of Friedberg.




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             59.   After the complaint was filed, TRF, Friedberg, and Arena engaged in discovery-

   related work, opposed one (1) motion to dismiss, and issued one (1) subpoena which required

   filing a motion for alternative service. However, the amount of work performed does not justify

   the hours billed.

             60.   For example, one (1) of TRF’s invoices, dated September 5, 2019, states that over

   nine (9) hours were spent reviewing privileged documents, yet TRF, Friedberg, and Arena

   nonetheless produced privileged documents that should not have been produced.

             61.   In another example, one (1) of TRF’s invoices dated March 6, 2020 billed 128.34

   hours, charging $46,234.00. Almost none of the work from this invoice amounts to any substantial

   work as most of it consists of calls, correspondence, and attention to documents.

             62.   These are only a few of many examples of excessive billing by TRF.

   Poor Performance Under The Contract

             63.   When Star Auto Group terminated TRF, TRF had not performed sufficient work to

   justify its billings and significant discovery-related work still needed to be done. For example: (i)

   TRF did not conduct one (1) deposition; (ii) TRF conducted very few interviews with key

   witnesses; and (3) TRF failed to review and produce responsive text messages to which they had

   access.

             64.   Around the time Star Auto Group terminated TRF, Star Auto Group spoke with

   Friedberg on the phone and asked him to provide a brief explanation of the various embezzlement

   schemes related to the Voynow Litigation. Shockingly, Friedberg was barely able to describe one

   (1) out of at least a half-dozen embezzlement schemes that formed the basis of the lawsuit that

   TRF commenced on behalf of Star Auto Group and had been litigating for over (3) years.




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          65.     As discussed supra, TRF, Friedberg, and Arena produced privileged documents

   that should not have been produced. Before producing these privileged documents, TRF never

   even asked Star Auto Group if these documents were privileged. Star Auto Group has now incurred

   additional legal fees engaging in extensive motion practice to attempt to claw back these privileged

   documents.

          66.     Additionally, as described in further detail below, TRF filed a motion to dismiss a

   complaint filed by Rosenfield against TRF in another action involving the same claims alleged in

   the instant Complaint. In support of TRF’s motion to dismiss, TRF improperly produced a

   privileged retainer agreement dated March 14, 2019 between Rosenfield and Star Auto Group.

   This agreement’s subject line even states that it is privileged. TRF never contacted Star Auto Group

   for permission to publicly file this document prior to the filing of its motion to dismiss.

          67.     Relying on TRF and Friedberg’s expertise, Star Auto Group, in good faith, paid all

   invoices TRF and Friedberg issued to Star Auto Group less $12,159.30. However once MLLG,

   received the file from TRF, MLLG discovered the lack of work TRF, Friedberg, and Arena

   performed and examined how much more work still needs to be performed in the Voynow

   Litigation. Star Auto Group also realized they were excessively billed by TRF and Friedberg

   including being overcharged an amount in excess of $12,159.30 for Arena’s work.

   TRF Makes A Material Misrepresentation To A Federal Court

          68.     On November 18, 2020, Rosenfield filed a complaint against TRF in the Circuit

   Court of the Ninth Judicial Circuit in Orange County, Florida (“the Florida State Court Action”)

   for the same $92,679.68 in damages Rosenfield is seeking in the instant action. Star Auto Group

   were not parties in the Florida State Court Action.

          69.     Rodes represented TRF in the Florida State Court Action.




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          70.     On December 29, 2020, TRF and Rodes removed the Florida action to the United

   Stated District Court Middle District of Florida Orlando Division (Case No.: 6:20-cv-02382)

   (“Florida Federal Action”).

          71.     On January 29, 2021, Rodes, on behalf of TRF, filed a motion to dismiss the Florida

   Federal Action. In support of its motion to dismiss, Rodes, on behalf of TRF, argued the complaint

   failed to state a viable claim under FRCP 12(b)(6) because the Engagement Letter states that only

   the “Client” is responsible for Rosenfield’s expenses.

          72.     TRF conceded in its memorandum of law in support of its motion to dismiss that

   neither Rosenfield nor Star Auto Group emailed a signed copy of the Engagement Letter.

          73.     Star Auto Group never signed the Engagement Letter.

          74.     To support TRF and TRF Partners’ argument that Star Auto Group was somehow

   bound to the Engagement Letter, TRF and TRF Partners rely on an e-mail from Ken Rosenfield

   stating that the Engagement Letter is “fine” with Rosenfield and conditions the agreement on Star

   Auto Group paying a $5,000.00 retainer.

          75.     In support of TRF’s motion to dismiss, TRF and TRF Partners intentionally made

   a false statement to deceive the court, Rosenfield, and Star Auto Group that Star Auto Group paid

   the $5,000.00 retainer required under the Engagement Letter.

          76.     A declaration by Friedberg dated January 29, 2021 was used as an exhibit to TRF’s

   memorandum of law in support of its motion to dismiss. In this declaration, Friedberg states in ¶

   12, under penalty of perjury that “[s]hortly thereafter, Koufakis (or one of his companies) paid the

   $5,000 retainer”.

          77.     ¶ 12 of Friedberg’s January 29, 2021 declaration is false because Star Auto Group

   never paid the $5,000.00 retainer.




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           78.     Prior to filing TRF’s memorandum of law in support of TRF’s motion to dismiss,

   along with the accompanying exhibits, TRF and TRF Partners never contacted Star Auto Group

   or MLLG to find out if Star Auto Group actually paid the $5,000.00 retainer.

           79.     After Star Auto Group and MLLG reviewed TRF’s memorandum of law in support

   of TRF’s motion to dismiss, along with the accompanying exhibits, MLLG immediately contacted

   Friedberg via telephone on February 16, 2021 and informed Friedberg that Star Auto Group never

   paid the $5,000.00 retainer. In response, Friedberg stated “I don’t know where I got that from”.

           80.     MLLG then directed Friedberg, in a February 19, 2021 letter, to “immediately and

   comprehensively correct those material factual errors inasmuch as these completely false

   statements could potentially create an artificial liability to [Star Auto Group] based on purported

   false facts.”

           81.     On February 24, 2021, Rodes responded to MLLG’s February 19, 2021 letter

   stating that there are documents which “supported the inference that [Star Auto Group] did, in fact,

   pay [the] retainer shortly after Rosenfield’s email”.

           82.     On February 25, 2021, MLLG responded to Rodes’ February 24, 2021 letter and

   reiterated that Star Auto Group never paid the retainer.

           83.     However, TRF and TRF Partners refused to make any corrections even though

   Friedberg’s declaration contains false statements submitted under penalties of perjury.

           84.     TRF and TRF Partners knew that if they did make these corrections, they would

   not be able to prevail on TRF’s motion to dismiss.

           85.     Upon information and belief, Rosenfield relied on TRF's motion papers and

   accompanying exhibits, which included Friedberg’s declaration, when it filed a notice of voluntary

   dismissal on February 19, 2021, without prejudice, and stated that it would refile its action in the




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   Southern District of New York. Ultimately, this resulted in Rosenfield filing this instant Complaint

   against TRF and Star Auto Group. But for TRF’s motion papers containing Friedberg’s false

   statements in his January 29, 2021 declaration, the instant action would not be commenced.

                         FIRST CROSS-CLAIM AGAINST TRF AND
                   FIRST THIRD-PARTY CLAIM AGAINST TRF PARTNERS
                            (Contribution and/or Indemnification)

          86.     Star Auto Group repeats and realleges each and every allegation contained in the

   preceding Paragraphs, as if fully set forth herein.

          87.     TRF and TRF Partners retained and incurred expenses from Rosenfield without

   prior approval by Star Auto Group.

          88.     In the event that Rosenfield succeeds in its claims against Star Auto Group wherein

   it asserts that Star Auto Group is bound to the Engagement Letter, Star Auto Group should be

   reimbursed by TRF and TRF Partners for any such amounts owed.

          89.     By reason of the foregoing, if and to the extent Rosenfield succeeds in any action

   against Star Auto Group for any portion of fees or charges alleged in the Complaint or otherwise,

   TRF and TRF Partners must reimburse Star Auto Group for any and all such amounts.

                       SECOND CROSS-CLAIM AGAINST TRF AND
                   SECOND THIRD-PARTY CLAIM AGAINST FRIEDBERG
                        (Breach of Contract Dated December 1, 2017)

          90.     Star Auto Group repeats and realleges each and every allegation contained in the

   preceding Paragraphs, as if fully set forth herein.

          91.     TRF and Friedberg are liable to Star Auto Group for breach of contract for (i)

   overbilling and (ii) violating the implied promise of due care for poor performance under its

   contract with Star Auto Group. Any billing by Arena billed at a rate greater than $400.00 per hour

   must be reduced to at least $400.00 per hour.




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          92.     Accordingly, TRF and Friedberg breached its agreement with Star Auto Group and

   Star Auto Group is entitled to damages and every available remedy at law.

                        THIRD CROSS-CLAIM AGAINST TRF AND
                  THIRD THIRD-PARTY CLAIM AGAINST TRF PARTNERS
                             (Fraudulent Misrepresentation)

          93.     Star Auto Group repeats and realleges each and every allegation contained in the

   preceding Paragraphs, as if fully set forth herein.

          94.     As its attorney, TRF and TRF Partners owed a fiduciary duty to Star Auto Group.

          95.     TRF and TRF Partners made material misrepresentations of fact to Star Auto Group

   regarding its work and bills which were made intentionally in order to defraud or mislead Star

   Auto Group.

          96.     Star Auto Group reasonably relied on the misrepresentations and suffered damages

   as a result of its reliance on TRF and TRF Partners’ misrepresentations.

          97.     Star Auto Group was damaged by TRF and TRF Partners’ conduct.

                                    PRAYER FOR RELIEF

   WHEREFORE, Star Auto Group demands the following:

      a. Judgment on all cross-claims against TRF in an amount to be established at trial plus pre

          and post-judgment interest, costs, attorney’s fees, and punitive damages for Star Auto

          Group’s third cross-claim;

      b. Judgment on all third-party claims against Friedberg and Rodes in an amount to be

          established at trial plus pre and post-judgment interest, costs, attorney’s fees, and punitive

          damages for Star Auto Group’s third third-party claim; and

      c. Together with such other and further relief as the Court deems just and proper.




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                        STAR AUTO GROUP DEMANDS TRIAL BY JURY

           Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Star Auto Group demands

   a trial by jury on all questions of fact raised in this case.

   Dated: Lake Success, New York
          July 30, 2021
                                                    MILMAN LABUDA LAW GROUP PLLC


                                                    By: /s/___________________________
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                                                    d/b/a Star Toyota of Bayside, Star Auto Sales
                                                    of Queens, LLC d/b/a Star Subaru, Star
                                                    Hyundai LLC d/b/a Star Hyundai, Star
                                                    Nissan, Inc d/b/a Star Nissan, Metro Chrysler
                                                    Plymouth Inc. d/b/a Star Chrysler Jeep
                                                    Dodge, Star Auto Sales of Queens County LLC
                                                    d/b/a Star Fiat, and Star Auto Sales of Queens
                                                    Village LLC d/b/a Star Mitsubishi




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